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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     EASTERN DISTRICT OF ARKANSAS
                                          LITTLE ROCK DIVISION

IN RE: ROBERT KEVIN FINNEY and LISA M FINNEY                                             CASE NO: 4:18-bk-12138 T
       DEBTORS                                                                                      CHAPTER 13

                                    CHAPTER 13 ORDER WITHDRAWING
                                 TRUSTEE'S OBJECTION TO CONFIRMATION

    The court, for cause shown, grants the Trustee's request to withdraw the Trustee's Objection to Confirmation filed

July 27, 2018, Docket Entry 38, set for hearing on August 30, 2018, at 9:00 am.

    IT IS SO ORDERED.



Date:     August 02, 2018                               /s/ Richard D. Taylor
                                                        Richard D. Taylor
                                                        United States Bankruptcy Judge


cc: Joyce Bradley Babin, Trustee

        Matthew D Mentgen
        P O Box 164439
        Little Rock, AR 72216

        Robert Kevin Finney and Lisa M Finney
        3 Escocia Ln.
        Hot Springs Village, AR 71909-7600




                                                                                                       GO 11-9 / sr / 058
